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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR10-64-RAJ

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   WILLIAM SLAUGHTER,
13
                                   Defendant.
14

15   Offense charged:
16          Possession of Oxycodone With Intent to Distribute, in violation of 21 U.S.C. §§
17          841(a)(1), 841(b)(1)(C), and 18 U.S.C. § 2

18   Date of Detention Hearing: March 15, 2010
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20

21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23                  defendant is a flight risk and a danger to the community based on the nature of

24                  the pending charges. Application of the presumption is appropriate in this case.

25          (2)     Defendant has a substantial history of failures to appear.

26          (3)     Defendant has a substantial history of non-compliance with court orders.


     DETENTION ORDER
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           (4)   Defendant has on-going substance abuse issues.
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           (5)   There are no conditions or combination of conditions other than detention that
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                 will reasonably ensure the appearance of the defendant.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 15th day of March, 2010.


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                                                JAMES P. DONOHUE
21                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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